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                              THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

 SYMBOLOGY INNOVATIONS, LLC,
                 Plaintiff,                                  Case No. 2:23-cv-419-JRG

         v.
 VALVE CORPORATION,
 GEARBOX SOFTWARE, L.L.C.,

                 Defendants.                                JURY TRIAL DEMANDED




              UNOPPOSED MOTION FOR ENTRY OF A JOINT DISCOVERY ORDER

         Plaintiff Symbology Innovations, LLC (“Plaintiff”) respectfully submits this unopposed Motion

 for entry of a joint protective order.



 Dated: January 5, 2024                              Respectfully Submitted,

                                                     /s/ Randall Garteiser
                                                     Randall Garteiser
                                                       Texas Bar No. 24038912
                                                       rgarteiser@ghiplaw.com
                                                     GARTEISER HONEA, PLLC
                                                     119 W. Ferguson Street
                                                     Tyler, Texas 75702
                                                     Telephone: (903) 705-7420
                                                     COUNSEL FOR PLAINTIFF




                                  CERTIFICATE OF CONFERENCE

       The undersigned attorney represents and confirms that a conference was conducted with opposing

counsel prior to filing this Motion, and counsel indicated its agreement with the relief requested herein.
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                                                   /s/ Randall Garteiser
                                                   Randall Garteiser


                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above document has been

served to all counsel of record who are deemed to have consented to electronic service via the Court’s

CM/ECF system on.

                                                   /s/ Randall Garteiser
                                                   Randall Garteiser
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                            THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

 SYMBOLOGY INNOVATIONS, LLC,
               Plaintiff,
        v.                                                CIVIL ACTION NO. 2:23-cv-419

 VALVE CORPORATION,
 GEARBOX SOFTWARE, L.L.C.,                                JURY TRIAL DEMANDED

               Defendants.



                                               ORDER

       The Court, having considered the Unopposed Motion for Extension of Time to Respond to

Defendant Valve Corporation’s Motion to Dismiss,

       GRANTS the Motion.

       Accordingly, it is hereby ORDERED that the deadline for the Plaintiff to submit its Response shall

be extended up to and including December 8, 2023.

       IT IS SO ORDERED.
